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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                   Case Number 4:06cr3163-002

                                                     USM Number 21082-047

MICHAEL GILES
                       Defendant
                                                     DAVID R. STICKMAN

                                                     Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to Count II of the Indictment on 2/22/07.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                          Date Offense               Count
         Title, Section & Nature of Offense                Concluded               Number(s)


 18:471 and 18:2 MANUFACTURE COUNTERFEIT               September 6, 2006               II
 CURRENCY; AIDING AND ABETTING

The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

Count I of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of the right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                  Date of Imposition of Sentence:
                                                                                    May 11, 2007

                                                                      s/ Richard G. Kopf
                                                                      United States District Judge

                                                                             May 14, 2007
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                                            PROBATION

The defendant is hereby sentenced to probation for a term of five (5) Years.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

        If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments
set forth in the Criminal Monetary Penalties sheet of this judgment.

        The defendant shall comply with the standard conditions that have been adopted by this
court (set forth below). The defendant shall also comply with any additional conditions.

                              STANDARD CONDITIONS OF SUPERVISION

1.       the defendant shall not leave the judicial district without the permission of the court or
         probation officer;
2.       the defendant shall report to the probation officer and shall submit a truthful and complete
         written report within the first five days of each month;
3.       the defendant shall answer truthfully all inquiries by the probation officer and follow the
         instructions of the probation officer;
4.       the defendant shall support his or her dependents and meet other family responsibilities;
5.       the defendant shall work regularly at a lawful occupation, unless excused by the probation
         officer for schooling, training, or other acceptable reasons;
6.       the defendant shall notify the probation officer at least ten days prior to any change in
         residence or employment;
7.       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any controlled substance or any paraphernalia related to any
         controlled substances, except as prescribed by a physician;
8.       the defendant shall not frequent places where controlled substances are illegally sold, used,
         distributed, or administered;
9.       the defendant shall not associate with any persons engaged in criminal activity and shall
         not associate with any person convicted of a felony, unless granted permission to do so by
         the probation officer;
10.      the defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view of the
         probation officer;
11.      the defendant shall notify the probation officer within seventy-two hours of being arrested
         or questioned by a law enforcement officer;
12.      the defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court;
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13.      as directed by the probation officer, the defendant shall notify third parties of risks that may
         be occasioned by the defendant’s criminal record or personal history or characteristics and
         shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.

                              SPECIAL CONDITIONS OF SUPERVISION


1.       The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
         to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
         2004), if such sample was not collected during imprisonment.

2.       The defendant shall participate in the Home Confinement Program under electronic monitoring for
         a period of 6 Months. Home confinement shall commence according to a schedule arranged by the
         Home Confinement Specialist for the District of Nebraska. The defendant shall comply with the
         provisions of the Home Confinement Participant Agreement for the District of Nebraska and shall pay
         for the costs of electronic monitoring. The defendant will be permitted to work during home
         confinement.

3.       Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
         from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
         administer any alcohol, just the same as any other narcotic or controlled substance.

4.       The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
         night, with or without a warrant, at the request of the United States Probation officer to determine the
         presence of alcohol and/or controlled substances, firearms or any other contraband. Any such items
         found may be seized by the United States Probation officer. This condition may be invoked with or
         without the cooperation of law enforcement officers.

5.       The defendant shall attend, pay for and successfully complete any diagnostic evaluation, treatment
         or counseling program, or approved support groups (e.g., AA/NA) for alcohol and/or controlled
         substance abuse, as directed by the United States Probation officer.

6.       The defendant shall complete 75 hours of community service as approved and directed by the United
         States Probation Officer. The defendant shall be responsible for providing the United States
         Probation Officer with written proof of the number of hours completed.

7.       Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
         Officer. Based on the defendant’s ability to pay, the defendant shall pay for the costs of the program
         in an amount determined by the probation officer.

8.       The defendant shall provide the United States Probation officer with access to any requested financial
         information.

9.       Pursuant to 18 U.S.C. § 3563 (a) (5), the defendant shall submit to a drug test within fifteen (15) days
         of being placed on probation and at least two (2) periodic drug tests thereafter to determine whether
         the defendant is using a controlled substances in an amount determined by the probation officer.
         Further, the defendant shall submit to such testing as requested by any United States Probation
         officer to detect the presence of controlled substances in the defendant’s body fluids and to determine
         whether the defendant has used any of those substances. Based on the defendant’s ability to pay,
         the defendant shall pay for the collection of urine samples to be tested for the presence of controlled
         substances in an amount determined by the probation officer.

10.      The defendant shall report to the United States Probation office for the District of Nebraska between
         the hours of 8:00am and 4:30pm, 100 Centennial Mall North, 530 U.S. Courthouse, Lincoln,
         Nebraska, (402) 437-5223, within seventy-two (72) hours of being placed on probation and,
         thereafter, as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.

        Total Assessment                    Total Fine                 Total Restitution

               $100.00                      $1,000.00



The Court has determined that the defendant does not have the ability to pay interest and it is
ordered that interest requirement is waived.



                                              FINE

A Fine in the amount of $1,000.00 is imposed.

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the
fine or restitution is paid in full before the fifteenth day after the date of the judgment,
pursuant to 18 U.S.C. § 3612(f). All of the payment options in the Schedule of Payments
may be subject to penalties for delinquency and default pursuant to 18 U.S.C. § 3612(g).


                                        RESTITUTION

         No restitution was ordered.
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                                     SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00 and a fine in the amount
of $1000.00.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is
obligated to pay said sum immediately if he or she has the capacity to do so. The United States
of America may institute civil collection proceedings at any time to satisfy all or any portion of the
criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such
Program, the defendant shall pay 50% of the available inmate institutional funds per quarter
towards the criminal monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make
payments to satisfy the criminal monetary penalty in the following manner: (a) monthly installments
of $100 or 3% of the defendant’s gross income, whichever is greater; (b) the first payment shall
commence 30 days following the defendant’s discharge from incarceration, and continue until the
criminal monetary penalty is paid in full; and (c) the defendant shall be responsible for providing
proof of payment to the probation officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following
order of priority: special assessment; restitution; fine; and other penalties. Unless otherwise
specifically ordered, all criminal monetary penalty payments, except those payments made through
the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk
of the Court. Unless otherwise specifically ordered, interest shall not accrue on the criminal
monetary penalty.

All financial penalty payments are to be made to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic
circumstances affecting the ability to make monthly installments, or increase the monthly payment
amount, as ordered by the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary
to liquidate and apply the proceeds of such property as full or partial payment of the criminal
monetary penalty.

CLERK’S OFFICE USE ONLY:
ECF DOCUMENT
I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________
DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
